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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

 SECURITIES AND EXCHANGE
 COMMISSION,

       Plaintiff,

 v.                                             Case No: 8:20-cv-325-MSS-AEP

 BRIAN DAVISON, BARRY M.
 RYBICKI, EQUIALT LLC,
 EQUIALT FUND, LLC, EQUIALT
 FUND II, LLC, EQUIALT FUND III,
 LLC, EA SIP, LLC, 128 E. DAVIS
 BLVD, LLC, 310 78TH AVE, LLC,
 551 3D AVE S, LLC, 604 WEST
 AZEELE, LLC, 2101 W. CYPRESS,
 LLC, 2112 W. KENNEDY BLVD,
 LLC, 5123 E. BROADWAY AVE,
 LLC, BLUE WATERS TI, LLC,
 BNAZ, LLC, BR SUPPORT
 SERVICES, LLC, BUNGALOWS TI,
 LLC, CAPRI HAVEN, LLC, EA NY,
 LLC, EQUIALT 519 3RD AVE S.,
 LLC, MCDONALD REVOCABLE
 LIVING TRUST, SILVER SANDS TI,
 LLC, and TB OLDEST HOUSE EST.
 1842, LLC,

       Defendants.



                                    ORDER

       THIS CAUSE comes before the Court for consideration of Non-Parties Fox

 Rothschild LLP (“Fox”), DLA Piper LLP (US) (“DLA”) and Paul Wassgren’s

 (collectively, the “Movants”) Motion to Compel Receiver to Bring Claims Against
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 Movants in This District (the “Motion”), (Dkt. 263), the Receiver’s response in

 opposition thereto, (Dkt. 268), the Securities and Exchange Commission’s response in

 opposition thereto, (Dkt. 270), and the Movants’ reply. (Dkt. 292) The Movants

 request that the Court compel the Receiver to dismiss his claims against them in

 California and bring those claims against the Movants in the Middle District of

 Florida. Upon consideration of all relevant filings, case law, and being otherwise fully

 advised, the Court DENIES the Movants’ Motion.

       The Securities and Exchange Commission (“SEC”) brought this enforcement

 action on February 11, 2020, arising out of an alleged multi-million-dollar Ponzi

 scheme perpetrated by the Defendants. (Dkt. 1) On February 14, 2020, the Court

 appointed Burton Wiand, Esq. as the Receiver over the Corporate Defendants and

 Relief Defendants. (Dkt. 11) The Court authorized the Receiver to:

       Investigate the manner in which the affairs of the Corporate Defendants
       and Relief Defendants were conducted and institute such actions and
       legal proceedings, for the benefit and on behalf of the Corporate
       Defendants and Relief Defendants and their investors and other creditors
       as the Receiver deems necessary against those individuals, corporations,
       partnerships, associations and/or unincorporated organizations which
       the Receiver may claim have wrongfully, illegally or otherwise
       improperly misappropriated or transferred money or other proceeds
       directly or indirectly traceable from investors in EquiAlt Fund, LLC,
       EquiAlt Fund II, LLC, EquiAlt Fund III, LLC, and EA SIP, LLC, their
       officers, directors, employees, affiliates, subsidiaries, or any persons
       acting in concert or participation with them, or against any transfers of
       money or other proceeds directly or indirectly traceable from investors in
       EquiAlt Fund, LLC, EquiAlt Fund II, LLC, EquiAlt Fund III, LLC, and
       EA SIP, LLC; provided such actions may include, but not be limited to,
       seeking imposition of constructive trusts, disgorgement of profits,
       recovery and/or avoidance of fraudulent transfers, rescission and
       restitution, the collection of debts, and such orders from this Court as
       may be necessary to enforce this Order[.]


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 (Dkt. 11 at ¶ 2) The Court further authorized the Receiver to:

        Appoint one or more special agents, employ legal counsel, actuaries,
        accountants, clerks, consultants and assistants as the Receiver deems
        necessary and to fix and pay their reasonable compensation and
        reasonable expenses, as well as all reasonable expenses of taking
        possession of the assets and business of the Corporate Defendants and
        Relief Defendants and exercising the power granted by this Order, subject
        to prior approval by this Court[.]


 (Id. at ¶ 5)

        On July 1, 2020, the Court permitted the Receiver to retain the law firm of

 Johnson, Pope, Bokor, Ruppel & Burns, LLP, on a contingency basis, to pursue claims

 against the law firms that provided services to EquiAlt LLC and other Receivership

 entities. (Dkt. 127) On September 28, 2020, the Receiver filed an action against the

 Movants in federal court in the Central District of California, asserting claims under

 California law for legal malpractice, breach of fiduciary duty, and aiding and abetting

 the misconduct of EquiAlt LLC and its principals. Wiand v. Wassgren, No. 2:20-cv-

 8849 (C.D. Cal. Sept. 28, 2020). Upon realizing that the California federal court lacked

 subject matter jurisdiction, the Receiver commenced an identical suit against the

 Movants in California state court, Burton W. Wiand, as Receiver on behalf of EquiAlt Fund,

 LLC, et al. v. Paul R. Wassgren, et al., Case No. 20STCV49670 (Cal. Super. Ct.), and the

 Receiver’s federal action was subsequently dismissed. (Dkt. 268 at 5-6)




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       On February 5, 2021, the Movants filed a Notice of Limited Appearance and

 the Motion. (Dkts. 262-263) In the Motion, the Movants advise that they are litigating

 a similar action in the Middle District of Florida, a suit brought by a class of EquiAlt

 LLC investors raising claims under Florida, Nevada, Arizona, Colorado, and

 California law. (Dkt. 263 at 2) The Movants request that the Court direct the Receiver

 to dismiss his California state action and bring his claims in the Middle District of

 Florida so that the Movants can litigate the Receiver’s claims and the EquiAlt LLC

 investors’ claims in the same district and circuit. (Dkt. 263) In opposition, the Receiver

 asserts that the Court has already granted him the authority to pursue actions against

 the Movants and that the Court has not limited his ability to pursue claims outside the

 Middle District of Florida. (Dkt. 268 at 15-16) The SEC also opposes the Movant’s

 motion and asserts that the Movants “have presented no legal or equitable reason as

 to why the Receiver’s choice of forum should be second guessed by this Court.” (Dkt.

 270 at 4)

       The Movants primarily assert that they are unjustifiably burdened by the

 Receiver’s choice to litigate his claims in California state court because the Movants

 had to retain counsel in California and must litigate similar claims “before two

 different courts at opposite ends of the country.” (Dkt. 263) The Court denies the relief.

 The Court expressly permitted the Receiver to pursue claims against the Movants.

 (Dkt. 127) To the extent that the Movants argue that the California state court is the

 improper forum in which to litigate the Receiver’s claims, the Movants are free to raise

 that challenge in the California state action.


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       Accordingly, the Court DENIES the Movants’ Motion to Compel Receiver to

 Bring Claims against Movants in This District.



       DONE and ORDERED in Tampa, Florida, this 21st day of June 2021.




 Copies furnished to:
 Counsel of Record
 Any Unrepresented Person




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